Case 2:18-cv-07480-JAK-MRW Document 374 Filed 11/09/21 Page 1 of 3 Page ID #:12787




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    18
    19                              UNITED STATES DISTRICT COURT
    20               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    21 MICHAEL LAVIGNE, et al.,                        CASE NO. 2:18-cv-07480-JAK (MRWx)
                           Plaintiffs,                 [Related Case 2:13-cv-02488-BRO-RZ]
    22
                     vs.                               JOINT STIPULATION FOR
    23                                                 RESCHEDULING OF HEARING ON
                                                       PLAINTIFFS’ MOTION FOR
    24 HERBALIFE LTD., et al.,                         REVIEW OF NON-DISPOSITIVE
                           Defendants.                 RULINGS, HERBALIFE’S MOTION
    25                                                 FOR SUMMARY JUDGMENT, THE
                                                       PARTIES’ DAUBERT MOTIONS,
    26                                                 AND PLAINTIFFS’ MOTION TO
                                                       STRIKE
    27
                                                       Assigned to Hon. John A. Kronstadt,
    28                                                 Courtroom 10B
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                                  JOINT STIPULATION FOR RESCHEDULING OF HEARING
Case 2:18-cv-07480-JAK-MRW Document 374 Filed 11/09/21 Page 2 of 3 Page ID #:12788




     1               Pursuant to Local Rule 7.1, Defendant Herbalife International of America,
     2 Inc. (“Herbalife”), and Plaintiffs Patricia Rodgers, Jennifer Ribalta, and Izaar
     3 Valdez (“Plaintiffs”), by and through their respective counsel of record, hereby
     4 stipulate as follows:
     5               WHEREAS, the parties have several motions scheduled to be heard on
     6 November 15, 2021, namely Plaintiffs’ Motion for Review of Non-Dispositive
     7 Rulings (Dkt. No. 309), Herbalife’s Motion for Summary Judgment (Dkt. No. 322),
     8 the parties’ Daubert motions (Dkt. Nos. 323, 324, 325, 326, 327, 328, 329, 330),
     9 and Plaintiffs’ Motion to Strike Defendant’s Affirmative Defenses (Dkt. No. 359)
    10 (the “Outstanding Motions”);
    11               WHEREAS, the Court previously continued the November 1, 2021 hearing
    12 on the Outstanding Motions to November 15, 2021, pursuant to the parties’
    13 stipulation (Dkt. No. 373) and in light of the parties’ settlement discussions
    14 facilitated by Hon. S. James Otero (Ret.);
    15               WHEREAS, the parties’ ensuing settlement discussions with Judge Otero
    16 were productive and the parties are continuing discussions to potentially resolve this
    17 matter;
    18               WHEREAS, to allow the parties to focus on these settlement discussions, the
    19 parties respectfully request that the November 15, 2021 hearing on the Outstanding
    20 Motions be continued to December 13, 2021, or the Court’s next available hearing
    21 date.
    22               IT IS HEREBY STIPULATED AND AGREED AS FOLLOWS:
    23               The parties jointly request that the Court continue the hearing on Plaintiffs’
    24 Motion for Review of Non-Dispositive Rulings (Dkt. No. 309), Herbalife’s Motion
    25 for Summary Judgment (Dkt. No. 322), the parties’ Daubert motions (Dkt.
    26 Nos. 323, 324, 325, 326, 327, 328, 329, 330), and Plaintiffs’ Motion to Strike
    27 Defendant’s Affirmative Defenses (Dkt. No. 359) to December 13, 2021, or the
    28 Court’s next available hearing date.
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                                  JOINT STIPULATION FOR RESCHEDULING OF HEARING
Case 2:18-cv-07480-JAK-MRW Document 374 Filed 11/09/21 Page 3 of 3 Page ID #:12789




     1               Local Rule 5-4.3.4(a)(2)(i) Compliance: Filer attests that all other signatories
     2 listed concur in the filing’s content and have authorized this filing.
     3
     4 DATED: November 9, 2021                     Mark Migdal & Hayden
     5
                                                   By: /s/ Etan Mark
     6                                                       Etan Mark
     7                                                Attorneys for Plaintiffs Patricia Rodgers,
                                                      Jennifer Ribalta, and Izaar Valdez
     8
     9
         DATED: November 9, 2021                   Mark T. Drooks
    10                                             Paul S. Chan
    11                                             Gopi K. Panchapakesan
                                                   Jon M. Jackson
    12                                             Bird, Marella, Boxer, Wolpert, Nessim,
    13                                             Drooks, Lincenberg & Rhow, P.C.

    14
                                                   By:         /s/ Paul Chan
    15
                                                               Paul S. Chan
    16                                                   Attorneys for Defendant Herbalife
    17                                                   International of America, Inc.

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